               Case 4:21-cv-03551-DMR Document 20 Filed 09/24/21 Page 1 of 5




 1 Paul R. Cort, State Bar No. 184336                         Zachary Fabish, State Bar No. 247535
   Earthjustice                                               Sierra Club
 2 50 California Street                                       50 F Street, NW, 8th Floor
   San Francisco, CA 94111                                    Washington, DC 20001
 3
   Tel: 415-217-2000/Fax: 415-217-2040                        (202) 675-7917
 4 pcort@earthjustice.org                                     zachary.fabish@sierraclub.org

 5 Kathleen Riley, Pro Hac Vice                               Counsel for Plaintiff Sierra Club
   Neil Gormley, Pro Hac Vice
 6 Earthjustice                                               Hayden Hashimoto, State Bar No. 325150
   1001 G St NW, Suite 1000                                   Clean Air Task Force
 7
   Washington, DC 20001                                       114 State St., 6th Floor
 8 Tel: 202-667-4500/Fax: 202-667-2356                        Boston, MA 02109
   kriley@earthjustice.org                                    (808) 342-8837
 9 ngormley@earthjustice.org                                  hhashimoto@catf.us
10 Counsel for Plaintiffs Downwinders at Risk,                Counsel for Plaintiff Clean Wisconsin
11 Sierra Club, Center for Biological Diversity,
   Air Alliance Houston, Texas Environmental
12 Justice Advocacy Services, Appalachian
   Mountain Club, Earthworks, Natural
13 Resources Defense Council, and
   Environmental Defense Fund
14

15
   TODD KIM
16 Assistant Attorney General

17 DAVID D. MITCHELL (IL Bar No. 6302250)
   United States Department of Justice
18 Environment & Natural Resources Division
   Environmental Defense Section
19 P.O. Box 7611
   Washington, DC 20044
20 Telephone: (202) 514-0165
   Fax: (202) 514-8865
21 E-mail: david.mitchell@usdoj.gov

22 Counsel for Defendant

23

24

25

26

27
     Second Stipulation to Continue Initial Case Management
28 Conference and Associated Deadlines and Proposed Order
     Case No. 4:21-cv-3551                                                                             1
               Case 4:21-cv-03551-DMR Document 20 Filed 09/24/21 Page 2 of 5




 1                                      UNITED STATES DISTRICT COURT

 2                                   NORTHERN DISTRICT OF CALIFORNIA

 3                                                OAKLAND DIVISION

 4
      DOWNWINDERS AT RISK, et al.,
 5                                                               Case No. 4:21-cv-3551-DMR
                       Plaintiffs,
 6                                                               SECOND STIPULATION TO
                             v.                                  CONTINUE INITIAL CASE
 7                                                               MANAGEMENT CONFERENCE AND
      MICHAEL S. REGAN, in his official capacity as              ASSOCIATED DEADLINES AND
 8
      Administrator of the United States Environmental           ORDER (AS MODIFIED)
 9    Protection Agency,
10                     Defendant.
11

12
             Pursuant to Civil L.R. 6-1(b), Plaintiffs, Downwinders at Risk, et al., and Defendant, United
13 States Environmental Protection Agency Administrator Michael S. Regan (together, “the Parties”)

14 stipulate to continue the Initial Case Management Conference to February 16, 2022 and reschedule the

15 associated deadlines accordingly. The Initial Case Management Conference is currently scheduled for

16 October 20, 2021. The Parties have reached a tentative agreement on a proposed consent decree that

17 would resolve the claims in this case. The Parties need additional time to secure necessary approvals for

18 signature and allow for sufficient time for the proposed consent decree to undergo the notice and

19 comment period required under section 113(g) of the Clean Air Act, 42 U.S.C. § 7413(g), prior to

20 moving this Court to enter an agreed to and signed consent decree. The Parties believe the extension

21 requested here will allow sufficient time to complete these requirements.

22           Previously, the Parties stipulated to extend the date of the case management conference to

23 October 20, 2021, which this Court subsequently granted (Dkt. No. 16). The Parties also have stipulated

24 twice to extend the responsive pleading deadline: first to September 20, 2021 (Dkt. No. 14), and then to

25 January 18, 2022 (Dkt. No. 18). There have been no other modifications of time in this case.

26

27
     Second Stipulation to Continue Initial Case Management
28 Conference and Associated Deadlines and Order (As Modified)
     Case No. 4:21-cv-3551                                                                            2
               Case 4:21-cv-03551-DMR Document 20 Filed 09/24/21 Page 3 of 5




 1           THEREFORE, the Parties stipulate to and request that the Court enter an order continuing the

 2 Initial Case Management Conference to February 16, 2022 at 1:30 PM, or to such later date that is

 3 convenient for the Court, and continuing the associated deadlines as follows:

 4

 5                Activity                  Current Date/Deadline                  New Date/Deadline
 6        Rule 26(f) Conference              September 29, 2021           No later than 21 days prior to the
                                                                          Initial Case Management Conference
 7          ADR Certification                September 29, 2021           No later than 21 days prior to the
                                                                          Initial Case Management Conference
 8
         Joint Case Management                 October 13, 2021           No later than 7 days prior to the
 9       Conference Statement &                                           Initial Case Management Conference
            Initial Disclosures
10

11                                                      Respectfully submitted,
12
     Dated: September 24, 2021                          /s/ with permission
13                                                      Kathleen Riley, Pro Hac Vice
                                                        Neil Gormley, Pro Hac Vice
14                                                      Paul R. Cort
                                                        Earthjustice
15

16                                                      Counsel for Plaintiffs Downwinders at Risk,
                                                        Sierra Club, Center for Biological Diversity,
17                                                      Air Alliance Houston, Texas Environmental
                                                        Justice Advocacy Services, Appalachian
18                                                      Mountain Club, Earthworks, Natural
                                                        Resources Defense Council, and
19
                                                        Environmental Defense Fund
20
                                                        /s/ with permission
21                                                      Hayden Hashimoto
                                                        Clean Air Task Force
22
                                                        Counsel for Plaintiff Clean Wisconsin
23

24                                                      /s/ with permission
                                                        Zachary M. Fabish,
25                                                      Sierra Club
26                                                      Counsel for Plaintiff Sierra Club
27
     Second Stipulation to Continue Initial Case Management
28 Conference and Associated Deadlines and Order (As Modified)
     Case No. 4:21-cv-3551                                                                              3
               Case 4:21-cv-03551-DMR Document 20 Filed 09/24/21 Page 4 of 5




 1                                                      TODD KIM
                                                        Assistant Attorney General
 2
     Dated: September 24, 2021                          /s/
 3
                                                        DAVID D. MITCHELL
 4                                                      United States Department of Justice
                                                        Environment and Natural Resources Division
 5                                                      Environmental Defense Section
 6                                                      Counsel for Defendant
 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27
     Second Stipulation to Continue Initial Case Management
28 Conference and Associated Deadlines and Order (As Modified)
     Case No. 4:21-cv-3551                                                                           4
               Case 4:21-cv-03551-DMR Document 20 Filed 09/24/21 Page 5 of 5




 1                                            ORDER (AS MODIFIED)

 2           Pursuant to stipulation and for good cause shown, the following dates and deadlines established

 3 by the Court’s July 26, 2021 Order (Dkt. No. 16) are continued as follows:

 4

 5                Activity                 Current Date/Deadline                   New Date/Deadline
 6        Rule 26(f) Conference             September 29, 2021                       January 26, 2022

 7          ADR Certification               September 29, 2021                       January 26, 2022
 8
         Joint Case Management                October 13, 2021                       February 23, 2022
 9      Conference Statement &
            Initial Disclosures
10      Initial Case Management         October 20, 2021 1:30 P.M.              March 2, 2022 10:00 A.M.
                Conference                                                       Zoom video conference
11

12           IT IS SO ORDERED AS MODIFIED.                                    ISTRIC
                                                                         TES D      TC
13                                                                     TA




                                                                                       O
                                                                   S




                                                                                        U
                                                                ED




                                                                                         RT
14                                                                                     D
                                                                                 RDERE
                                                            UNIT




     DATED:       September 24, 2021                                       S O O
                                                                     IT IS      DIFIED
15                                                                      AS MO



                                                                                                R NIA
16                                                                              a M. Ry
                                                                                        u
                                                            NO




                                                                          o n n
                                                                                               FO
                                                                  Judge D
                                                            _____________________________
                                                             RT




17                                                          DONNA M. RYU
                                                                                           LI

                                                                ER
                                                                 H




                                                                                           A


                                                            United States Magistrate FJudge
                                                                                        C
18                                                                 N
                                                                     D IS T IC T O
                                                                            R
19

20

21

22

23

24

25

26

27

28
     Second Stipulation to Continue Initial Case Management
     Conference and Associated Deadlines and Order (As Modified)
     Case No: 4:21-cv-3551-DMR
